

Hao Zhe Wang v Sladkus (2023 NY Slip Op 50242(U))



[*1]


Hao Zhe Wang v Sladkus


2023 NY Slip Op 50242(U)


Decided on March 29, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on March 29, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., Michael, James, JJ.



570017/23

Hao Zhe Wang, Plaintiff-Respondent, 
againstSteven D. Sladkus, Defendant-Appellant.




Defendant appeals from an order of the Small Claims Part of the Civil Court of the City of New York, New York County (Jose A. Padilla, Jr., J.), entered October 18, 2022, which denied his motion to dismiss this action pursuant to CPLR 3211(a)(7).




Per Curiam.
Order (Jose A. Padilla, Jr., J.), entered October 18, 2022, affirmed, without costs.
Informal and simplified procedures govern small claims actions (see CCA 1804) and pretrial motions to dismiss for failure to state a cause of action (CPLR 3211[a][7]) should rarely, if ever, be entertained in Small Claims Court (see Friedman v Seward Park Hous. Corp., 167 Misc 2d 57 [App Term, 1st Dept 1995]; see also Rackowski v Araya, 152 AD3d 834, 836 [2017]). "The informality and convenience of small claims practice is necessarily frustrated by requiring pro se litigants to respond to formal motion practice under the CPLR prior to the hearing of their case" (Friedman v Seward Park Hous. Corp., 167 Misc 2d at 58) and no exception to the rule is warranted in this case. "[S]ubstantial justice" (CCA 1804) will best be rendered by a prompt trial, where defendant may assert his substantive arguments for dismissal (see Borisovski v Lamarre, 66 Misc 3d 138[A], 2020 NY Slip Op 50080[U] [App Term, 1st Dept 2020]).
We note, further, that a court does not determine the merits of a cause of action on a CPLR 3211(a)(7) motion (see Stukuls v State of New York, 42 NY2d 272, 275 [1977]). Thus, any statements by Civil Court concerning the merits of any potential claim are dicta. 
All concur
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.


Clerk of the Court 
Decision Date: March 29, 2023









